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CRITCHLEY, KINUM & LURIA, LLC
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Attorneys for Defendant, Jennifer Johnson

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 CC FORD GROUP, LLC,                           CIVIL ACTION NO.: 3:22-cv-04143
                           Plaintiff,
 v.
                                               NOTICE OF REMOVAL
 JENNIFER JOHNSON,

                            Defendant.



       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1441(a) and 1332, Defendant

Jennifer Johnson, by and through her undersigned attorneys, hereby removes this action from the

Superior Court of New Jersey, Somerset County, to the United States District Court for the District

of New Jersey. Pursuant to 28 U.S.C. § 1446, Defendant makes the following short and plain

statement of the grounds for removal:

                                        INTRODUCTION

       1.      On May 16, 2022, Plaintiff commenced a civil action against Defendant in the

Superior Court of New Jersey, Somerset County. A true and accurate copy of the Summons, filed

Complaint, Civil Case Information Statement and Track Assignment Notice are attached as Exhibit

A.

       2.      On May 23, 2022, Plaintiff was served with the Summons, Complaint, Civil Case

Information Statement and Track Assignment Notice.
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        3.      This is a civil action over which this Court has original jurisdiction based on

diversity pursuant to 28 U.S.C. § 1332 and which may be removed by Defendant to this Court

pursuant to 28 U.S.C. § 1441(a) because it is a civil action between citizens of different states and

the amount in controversy exceeds the sum of $75,000 exclusive of interest and costs.

                                  DIVERSITY OF CITIZENSHIP

        4.      Plaintiff, CC Ford Group LLC, is a limited liability company organized under the

laws of New Jersey and having a principal place of business at 150 Morristown Road, Suite 102,

Bernardsville, NJ 07924.

        5.      The members of CC Ford Group LLC are John Studdiford and Cathleen Studdiford,

both of whom are residents of Florida.

        6.      Defendant Jennifer Johnson is a resident of New York, residing at 78 Allview

Avenue, Brewster, NY 10509.

        7.      Accordingly, diversity of citizenship exists pursuant to 28 U.S.C. § 1332(a) because

this action is between citizens of different states. The parties were citizens of different states at the

time Plaintiff’s Complaint was filed in the state action.

                                  AMOUNT IN CONTROVERSY

        8.      Plaintiff asserts the following claims against Defendant: breach of contract, breach

of fiduciary duty, tortious interference with existing business relationships, tortious interference

with prospective economic advantage and trespass to chattel.

        9.      It is apparent on the face of the Complaint that Plaintiff is seeking damages in excess

of $75,000. Plaintiff demands judgment for compensatory and consequential damages, punitive

damages, reimbursement of wages, and attorneys’ fees and costs against Defendant.
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                                          CONCLUSION

        10.     Accordingly, removal to the United States District Court for the District of New

Jersey is proper pursuant to 28 U.S.C. §§ 1441(a) and 1332.

        11.     Removal to the United States District Court for the District of New Jersey is

appropriate because this action is being removed from the Superior Court of New Jersey, Somerset

County, which is located with the District of New Jersey.

        12.     This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11 and is timely filed

within 30 days after the date the Removing Defendant received service of Plaintiff’s Complaint and

Summons.

        13.     A true and accurate copy of this Notice of Removal will be filed with the Clerk of

the Superior Court of the State of New Jersey, Somerset County, and served upon counsel for

Plaintiff.

        14.     In filing this Notice of Removal, Defendant does not waive and specifically reserves,

all defenses, exceptions, rights and motions.

        15.     If any question arises as to the propriety of the removal of this action, the Removing

Defendant respectfully requests the opportunity to present a brief and oral argument in support of its

position that this case is removable.




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       WHEREFORE, Defendant respectfully gives notice of removal of the state action herein

from the Superior Court of the State of New Jersey, Somerset County, to the United States District

Court for the District of New Jersey




                                             CRITCHLEY, KINUM & LURIA, LLC
                                             Attorneys for Defendant Jennifer Johnson


                                             /s/ Amy Luria__________________
                                             By: AMY LURIA, ESQ.
Dated: June 17, 2022




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                           LOCAL RULE 11.2 CERTIFICATION

       I hereby certify that the matter in controversy in this action is not known to me to be the

subject of any other action pending in any Court (other than the state court action removed

hereby) or of any pending arbitration or administrative proceeding.



                                             CRITCHLEY, KINUM & LURIA, LLC
                                             Attorneys for Defendant, Jennifer Johnson


                                             /s/ Amy Luria________________________
                                             By: AMY LURIA, ESQ.


Dated: June 17, 2022




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